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 5
     Attorneys for Defendant
 6   National Consumer Telecom & Utilities Exchange, Inc.
 7                              UNITED STATES DISTRICT COURT
 8                                      DISTRICT OF NEVADA
 9    ANNA DOUANGDARA,                                        Case No. 2:22-cv-00852-JAD-BNW
10                                              Plaintiff,
      v.                                                      STIPULATION FOR EXTENSION
11                                                            OF TIME FOR NATIONAL
      NATIONAL CONSUMER TELECOM &                             CONSUMER TELECOM &
12    UTILITIES EXCHANGE, INC, COMCAST                        UTILITIES EXCHANGE, INC. TO
      CABLE COMMUNICATIONS MANAGEMENT,                        FILE RESPONSE TO COMPLAINT
13    LLC
                                                              (FIRST REQUEST)
14                                           Defendants.
15

16
             Defendant National Consumer Telecom & Utilities Exchange, Inc. (“Defendant” or
17
     “NCTUE”), by and through its counsel of record, the law firm Greene Infuso, LLP, and Plaintiff
18
     Anna Douangdara (“Plaintiff” or “Douangdara”), by and through her counsel of record, the law
19
     firm of Kind Law and Freedom Law Firm hereby stipulates and agrees as follows:
20
             WHEREAS, Plaintiff filed its Complaint on May 27, 2022;
21
             WHEREAS, Defendant NCTUE’S deadline to respond to Plaintiff’s Complaint is June 26,
22
     2022;
23
             WHEREAS, due to the recent retention of counsel and the upcoming holidays, NCTUE’s
24
     counsel needs additional time to investigate and prepare a response to the Complaint;
25
             WHEREAS, Plaintiff has agreed to give Defendant NCTUE up through and including July
26
     26, 2022 in which to respond to Plaintiff’s Complaint;
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 1          WHEREAS, there are no other deadlines that are affected by this stipulation that are

 2   presently known to the parties; and

 3          WHEREAS, this stipulation is not entered into for any improper purpose or to delay;

 4          THEREFORE, Plaintiff and NCTUE hereby stipulate and agree that NCTUE may have up

 5   through July 26, 2022 in which to respond to Plaintiff’s Complaint.

 6

 7   Respectfully Submitted by:                          Approved by:

 8     GREENE INFUSO, LLP                                KIND LAW

 9
       /s/ Michael V. Infuso                             _______________
10     Michael V. Infuso, Esq.                           Michael Kind, Esq.
       Nevada Bar No. 7388                               Nevada Bar No. 13903
11
       Keith W. Barlow, Esq.                             8860 S. Maryland Pkwy, Suite 106
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13     Las Vegas, Nevada 89146
                                                         FREEDOM LAW FIRM
14

15                                                       _/s/ Gerardo Avalos
                                                         George Haines, Esq.
16                                                       Nevada Bar No. 9411
                                                         Gerardo Avalos, esq.
17                                                       Nevada Bar No. 15171
                                                         8985 S. Eastern Ave., Suite 350
18                                                       Las Vegas, Nevada 89123
19
                                                ORDER
20                                         IT IS SO ORDERED
            IT IS SO ORDERED.
21                                       DATED: 4:22 pm, June 23, 2022
            Dated this _____ day of June, 2022.
22

23
                                           BRENDA WEKSLER
24                                         UNITED STATES MAGISTRATE JUDGE
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26

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